Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 1 of 14




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                Case No.: 1:20-cv-20543-Williams-Torres

   BRUCE JACOBS,


          Plaintiff,
                           v.

   JP MORGAN CHASE BANK, N.A.,


         Defendant.
   _________________________________________/

       DECLARATION OF SCOTT B. COSGROVE IN SUPPORT OF DEFENDANT’S
           MOTION TO DISMISS AND REQUEST FOR JUDICIAL NOTICE

          I, Scott B. Cosgrove, do hereby declare pursuant to 28 U.S.C. § 1746:
          1.      I am an attorney at the law firm of León Cosgrove, LLP.
          2.      I am a member in good standing of the Bar of Florida.
          3.      I represent Defendant in this matter.
          4.      I respectfully submit this Declaration in connection with Defendant’s Motion to
   Dismiss and Request for Judicial Notice in Support of Defendant’s Motion to Dismiss, both of
   which are submitted concurrently herewith.
          5.      Attached hereto are true and correct copies of the following documents:

          Exhibit 1:     Shenanigans Abound – WAMU’s Endorsement Of The Notes, VICTORY
                         OVER CHASE (January 21, 2014), available at:
                         http://victoryoverchase.blogspot.com/2014/01/shenanigans-abound-
                         wamus-endorsement-of.html.

          Exhibit 2:     JPMorgan Chase Quits 5 ½ Year Foreclosure Case, MFI MIAMI
                         MORTGAGE FRAUD INVESTIGATIONS (June 2015), available at: https://mfi-
                         miami.com/2015/06/jpmorgan-chase-quits-1/ .

          I declare under penalty of perjury that the foregoing is true and correct, to the best of my
   knowledge.
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 2 of 14




   Executed on November 9, 2020, in Miami, Florida


                                                     Scott B. Cosgrove____
                                                     Florida Bar No. 161365
                                                     LEÓN COSGROVE, LLP
                                                     255 Alhambra Circle, 8th Floor
                                                     Miami, FL 33134
                                                     Telephone: 305-740-1975
                                                     Facsimile: 305-437-8158
                                                     scosgrove@leoncosgrove.com

                                                     Attorney for Defendant
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 3 of 14




                               Exhibit 1
 VICTORY OVER CHASE: SHENANIGANS ABOUND -- WAMU'S ENDORSEMENT... Page 1 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 4 of 14


                                                   More




  VICTORY OVER CHASE
  ANYWHERE. ANY WAY. ANY HOW. ANY TIME. BAR NONE. A foreclosure information sharing site committed to saving homes from foreclosure and facing any challenge that comes our way with Wisdom, Intelligence, Gratitude,
  and Grace. Nothing is too Good to be true. Nothing is too much to ask of the Power of God that can do anything. No weapon formed against you shall prosper! Onward!

          VICTORY OVER CHASE                                CONTRIBUTE                Related Information      Resources          More WAMU Articles


    Washington Mutual Bank
                                                          Tuesday, January 21, 2014


                                                          SHENANIGANS ABOUND -- WAMU'S ENDORSEMENT OF THE
                                                          NOTES

                                                          Thousands of Washington Mutual Bank FA (WMBFA) mortgage Notes were endorsed in blank within days of when their
                                                          mortgage loans closed, in the Note Review Department within WAMU's Secondary Delivery Operations. Thousands of
                                                                                                                                                                                             LADY JUSTICE PREVAILS
    Disclaimer
                                                          WMBFA notes were stamp endorsed in blank allegedly by Cynthia Riley, a.k.a. Cindy Riley, as Vice President of Washington
                                                          Mutual Bank, F.A.
    This Blog is not to be viewed as a
    source of competent legal advice,
    rather it is gathering place for people                                                                                                                                                  Total Pageviews
    facing foreclosure who are sharing
    information in order to save our                         • Did Cynthia Riley actually endorse the notes?
    homes and communities.
    Administration shall not be liable to
    visitors for information posted or the
                                                             • Or did robo-stampers endorse the Notes?
    actions of users on this Internet site.
                                                                                                                                                                                             458,238
                                                             • Was Riley in a position of authority to endorse Notes at the time your Note was endorsed?
    DAVID vs. GOLIATH
                                                             • Was Riley an employee of WaMu or its affiliates overseeing Note Review at the time your Note was stamp
                                                               endorsed in blank?                                                                                                                          Home

                                                             • Is this another bank scheme to steal your home?
                                                                                                                                                                                             A California Law Firm
                                                                                                                                                                                             Specializing in Foreclosure Defense
                                                          Thousands of Washington Mutual Bank FA (WMBFA) borrowers have learned through various discovery methods to include                 Jason W. Estavillo, Attorney at Law
                                                          customer requests and subpoenas that the Note for their mortgage loans were at some time, immediately after their mortgage         1330 Broadway, Suite 933
                                                                                                                                                                                             Oakland, California 94612
                                                          loans closed, were stamp endorsed in blank by Cynthia Riley, a.k.a. Cindy Riley, as Vice President of Washington Mutual            Phone 510-982-3001
                                                                                                                                                                                             Website
                                                          Bank, F.A. See the example below photographed from a WMBFA Note that closed in late 2007. To see other examples go to              Email

    Psalm 118:16 --- His power has brought
    us victory - his mighty power in battle!" --          this document.
    Psalm 118:21 -- I praise you, Lord,
    because you heard me, because you
    have given me victory.                                                                                                                                                                   Search This Blog




    St. Michael the Archangel



                                                                                                                                                                                             Popular Posts




                                                                                                                                                                                             highly respected members of the California
                                                                                                                                                                                             Office of the Attorney General participated in a
                                                                                                                                                                                             teleconfere...



                                                          "The Deposition of Cynthia Riley" reveals more shenanigans by WAMU and JPMorgan Chase Bank and raises more legal
                                                          questions. Riley was deposed in the matter of JPMorgan Chase Bank, N.A v. Eduardo Orazco, case No: 09-29997 CA (11),
    "Defend us in the battle."
                                                          Fla. 11th Circuit Court, taken January 15, 2013 in Jacksonville, Florida. This blogger obtained the deposition through PACER
                                                          as recorded in the US Bankruptcy Court in San Jose, CA in the adversarial proceedings of James Madison Kelley v.
                                                          JPMorgan Chase Bank, NA. This deposition is a matter of public record.
                                                                                                                                                                                                       History of Washington Mutual Bank,
    Words of Faith                                                                                                                                                                                     FA, formerly American Savings
                                                                                                                                                                                                       Bank, FA
                                                          Riley had given two prior depositions, one in Florida (Tavares) and in an unidentified case in New York. On August 29, 2011                  http://www2.fdic.gov/idasp/main_ba
    Psalms 118:24: "This is the day of the                                                                                                                                                   nkfind.asp History of Washington Mutual Bank,
    Lord's victory; let us be happy, let us               as Cynthia A. Riley she gave a deposition in JPMorgan Chase Bank, N.A. Successor Washington Mutual Bank v. Sherone D.              FA, Stockton, California (FDIC Cert: 32633)
    celebrate!"                                                                                                                                                                              Note: This i...
                                                          Waisome & Verna Waisome; Lake County, Florida Circuit Court Case No. 2009 CA 005717. This Riley Deposition was filed
    1 Corinthians 15:57: "thanks be to God,
    which giveth us the victory through our               under seal on December 8, 2011.This deposition in Chase v. Orazco was her third deposition. (Pages 5, 6)
    Lord Jesus Christ."

    Nothing is too good to be true. Nothing is
    too much to ask of the Power of God that              Cynthia A. "Cindy" Riley claims to have been "with Chase or Chase affiliates for 25 years." She included prior institutions that
    can do and accomplish anything.
    Therefore the highest and greatest Good               Chase or WAMU had acquired. (Page 4). She stated that she had worked in the Secondary Delivery Operations at
    is manifest for all homeowners in their
    quest to save their homes and win our                 Washington Mutual Bank whose purpose was to prepare, endorse and deliver loans to Fannie Mae, Freddie Mac, Lehman,
    legal issues. Good and only Good - a                                                                                                                                                     Agreement between the FDIC & JPMorgan
    Good greater than anything we imagine                 Ocwen, Bayview, GMC, and private investors who bought the loans. (Source: pages 23, 36, 39, 41, 42, 47 and 48.)                    Chase Bank, NA for Washington Mutual Bank
    possible -- is manifest in ways that are                                                                                                                                                 does not specifically...
    Right, Good, True and Wise. For this I
    am grateful. Amen.
                                                          Riley testified under oath that began her banking career in approximately 1987 with American Savings Bank in Stockton,
    I bless every home defender with victory
    over our enemies. I bless our                         California as a supervisor in the records area. [Note that the bank was not founded until 12/27/1988.] She supervised a team
    adversaries to include JPMorgan Chase
    Bank NA, the FDIC, Washington Mutual                  of employees responsible for tracking credit files as they were shipped in and out. (P. 12,13). After one year she became a
    Bank, ALAW, CRC, the title companies,
    trustees all of their entities, employees,            trainer under the supervision of Karen Moran. After another year or year and a half she became a supervisor in the customer
    executives, agents, affiliates and
    representatives of every kind. I bless                service call center (P. 16) after which she became a tax and insurance supervisor (P. 17). Then she moved to purchase              homeowners if their bank servicers' fail to
    every legal action, document, and
    communication. I bless every                          servicing, a team that coordinated the service transfers and bringing them on board to the servicing systems. Her job "as          promptly comply with QWR and TILA
    homeowner and home, every mortgage,                                                                                                                                                      requests. Home...
    Note, Deed of Trust, Notice of Default,               purchase servicer was to get those loans on board." (p. 18) Riley was involved in Purchase & Servicing until November 2006
    Assignment, Notice of Sale, all litigation
    involving homeowners. I bless myself,                 (p. 22).
    my attorney, my home, my case. I bless
    everyone involved. I give thanks to God
    for the great victory manifesting for me
    and all home defenders. Amen.                         Riley 's servicing responsibilities evolved over time. "I stayed in a department. It was -- became secondary delivery
                                                          operations. The purchase and movement of whole loan sales and so on occurred in that department. (p 23). "Then I took on,




https://victoryoverchase.blogspot.com/2014/01/shenanigans-abound-wamus-endorsement-... 11/6/2020
 VICTORY OVER CHASE: SHENANIGANS ABOUND -- WAMU'S ENDORSEMENT... Page 2 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 5 of 14

                                                                                                                                                      Crows? You be the judge. QUESTION -- Are
                    in Stockton, the note review unit and was also involved in special projects outside of those functions." (p 24). She worked as    the FDIC and JPMorgan Chase Bank and their
                                                                                                                                                      attorneys...
                    to the movement of whole loan sales meaning that the loan file was sold along with the servicing. The files would be
                    collected. The collateral would be collected and shipped to servicers, purchasers of that.

                    Riley indicated that she was involved with note review in Stockton, supervising the unit that performed note review. (p 25) "We
                    got electronic data. . . And we had the note." The origination centers input the electronic data. The notes were endorsed in
                    Stockton and shipped to the custodian in the same building. (p 28) When pressed she stated she was "the supervisor for that
                                                                                                                                                      as to issues with JPMorgan Chase Bank, N.A.,
                    unit sometime 2001. (p 29) She reviewed data and endorsed the notes in blank with an endorsement stamp bearing the                Washington Mutual Bank,...

                    signature of Jess Alamanza (VP secondary delivery operation) on the endorsement stamp. (p 30, 31) Riley supervised a 10 -            Florida Homeowner Liz Coursen's Wins Big
                                                                                                                                                         in RICO Case Against JPMorgan Chase et
                    12 person team using the endorsement stamp. "around 2002, 2004 to then." (p 31, 32) Riley indicated that she was not              al
                                                                                                                                                      July 25th 2012 stands out as a red letter day
                    personally endorsing those notes nor was she herself using the Jess Alamanza stamp to endorse the notes. (p 33) Prior to          for foreclosure fighters and home defenders in
                                                                                                                                                      Florida. The scales of justice have at ...
                    June 2004 when the operation moved from Stockton, California to Jacksonville, Florida the Jeff Alamanza stamp was used to
                    endorse notes at the Stockton facility.

                    Riley did not remember when WaMu took over American Savings as "it was seamless to me. I had the same job functions." (p
                    26) [This occurred in October 1997.] The notes that were originated were brought to Stockton (p 26).

                                                                                                                                                      Bank FA original loan documents gone?
                    In January 2004 Washington Mutual Bank FA [WMBFA] acquired Washington Mutual Bank [WAMU]. Then on April 4, 2004                   Uploaded to MERS t...

                    WMBFA changed its name to Washington Mutual Bank (WaMu). In June 2004 Riley left WaMu in Stockton and relocated to                MORE FACTS -- WASHINGTON MUTUAL
                                                                                                                                                      BANK, FA (FDIC # 32633)
                    WaMu in Jacksonville, FLorida. Her manager 1st VP Brenda Brendle had requested Riley make the move; Brendle does not              WASHINGTON MUTUAL BANK, FA (32633)
                                                                                                                                                      10/1/1997 AMERICAN SAVINGS BANK,FA
                    work for Chase. WaMu Stockton closed. WaMu moved its headquarters from Stockton, California to Henderson, Nevada.                 (FDIC Certificate # 32633) changed its name
                                                                                                                                                      to WASHINGTON MUTUAL BA...


                    Circa June 2004 Riley was promoted to Vice President and served as the department manager for Secondary Delivery
                    Operations for WaMu in Jacksonville, Florida. As department manager she supervised 30 to 40 people from June 2004 to
                                                                                                                                                      Blog Archive
                    November 2006.(p 37, 38). The department "delivered on the deals that were made by secondary marketing. "The bulk of our
                                                                                                                                                      ► 2016 (2)
                    work was sold to Freddie and Fannie." (p 41) Other entities included Lehman, Ocwen, Specifically between June 2004 and
                                                                                                                                                      ► 2015 (14)
                    November 2006 Riley managed the WaMu Note Review Unit in Jacksonville, Florida, at which employees reviewed the notes             ▼ 2014 (123)
                    for accuracy, endorsed the notes, then moved them to the custodian. ( p 46)                                                         ► December 2014
                                                                                                                                                        ► November 2014
                                                                                                                                                        ► October 2014
                    Riley's staff of 10 - 12 people in the note review department endorsed the notes using the facsimile stamp (p 48). actually
                                                                                                                                                        ► September 2014
                    "multiple stamps, nine to ten stamps" bearing Riley's signature. Riley provided her signature to the bank for the stamps. ( p       ► August 2014
                    49).                                                                                                                                ► July 2014 (17)
                                                                                                                                                        ► June 2014 (3)

                    Security procedures were established for safekeeping the stamps. "The stamps were in a secured location requiring card              ► May 2014 (6)
                                                                                                                                                        ► April 2014 (10)
                    access only by the collateral note review people." "they were in a locked cabinet. The lead manager of that unit would unlock
                                                                                                                                                        ► March 2014 (10)
                    the cabinets. The lead manager of that unit would unlock the cabinets. In the morning the stamps would be checked out on a          ► February 2014
                    log. They would be used as the representative needed to do during the day. At the end of the night they were checked back in        ▼ January 2014
                    and logged back in to the secured cabinet. And, again, the room that the note review occurred in was a secured access                  JOLLEY v. CHASE HOME
                                                                                                                                                              FINANCE, LLC |
                    only." "I had a manager over that team. She had a lead." (p 50) Riley did not know what the process was for making the                    Leagle.com

                    stamps. She never inspected the stamps to ensure that the signatures on the 9 - 10 stamps were different or the same. (p 56)           Unconscionable and
                                                                                                                                                              Negligent Conduct in
                                                                                                                                                              Loan Modif...
                                                                                                                                                           Big Win For Homeowners –
                    Riley stated that once the notes were endorsed in the note review department that they then sent the Notes to the custodian                California Supreme
                                                                                                                                                               Court ...
                    who stored them in the vault. One vault was in Jacksonville, Florida. For a short period of time after June 2004 notes were
                                                                                                                                                           Arizona Appeals Court
                    shipped to Stockton. Other notes were shipped to Vernon Hills, Illinois. "A vault was built in Florence, South Carolina. (p 53)            Reverses Direction:
                                                                                                                                                               Dismissa...
                                                                                                                                                           Florida Foreclosure Mill
                    Employees of the note review department stamped the notes within days after closing the loan as a matter of business                        ALAW (Albertelli Law)
                                                                                                                                                                Acq...
                    practice. (p 83).                                                                                                                      JPMorgan Gives Criminal
                                                                                                                                                              CEO a 74 Percent Pay
                                                                                                                                                              Raise...
                                                                                                                                                           Banker plunges to his death
                                                                                                                                                              from JP Morgan's
                    Riley attested that she "never put an endorsement stamp on the notes." (P 57, 58) Her team endorsed 200 to 300 notes per                  Londo...

                    day of the 2,000 to 3,000 notes that she stated were coming in per day. The team compared certain data on the note to what             BROTHER SHARIF' "THE
                                                                                                                                                              FORECLOSURE AND
                    was in the system. (p 58)                                                                                                                 DEBT COLLECTO...
                                                                                                                                                           Robosigning Pays: Deborah
                                                                                                                                                              Brignac Promoted to
                    Riley managed her team to productivity. They also had quality control checks. Pat Eyles was the manager of the note review                Sen...
                                                                                                                                                           JPMorgan's Dimon gets
                    unit; her lead was Karen Woodward. (p 68)                                                                                                 74% pay hike despite
                                                                                                                                                              legal w...
                                                                                                                                                           Mike Rooney Law Office |
                    In November 2006 Riley left [was laid off from] the Secondary Delivery Operations Department. (p 52) when the department in                Why Robo-Signatures
                                                                                                                                                               Are I...
                    Jacksonville closed and moved to Florence, South Carolina. Riley did not relocate to Florence; she stayed in Jacksonville. (p
                                                                                                                                                           SECRET DOCUMENT: The
                    60, 61) From November 2006 to about November 2007 Riley "did project management work for about 12 months . . . involved                   Foreclosure Mills-
                                                                                                                                                              Fabricatin...
                    with was helping to move the custodial vault from Stockton to Florence, South Carolina." (p 62) She coordinated meetings               Mortgage Lenders Network
                    and activities. {The deposition was murky as to whether or not she was an actual employee of WaMu or a contractor for the                  and Wells Fargo Battled
                                                                                                                                                               o...
                    period November 2006 to November 2007 or what she did between November 2007 and January 2009.) No secondary                            SHENANIGANS ABOUND
                                                                                                                                                              -- WAMU'S
                    delivery operations were going on in Jacksonville by the end of 2006. (p 64)                                                              ENDORSEMENT OF
                                                                                                                                                              THE NOTES
                                                                                                                                                           JPMorgan and Madoff Were
                                                                                                                                                              Facilitating Nesting
                                                                                                                                                              Doll...
                    Riley never supervised any employees or oversaw endorsement of notes in Florence, South Carolina. Riley's counterparts
                                                                                                                                                           Attorney General Kamala D.
                    performed those functions in Florence, South Carolina . (p 78) She did not herself endorse notes with a stamp. (p 79)                      Harris Announces Suit
                                                                                                                                                               A...
                    Florence had its own secondary delivery operation and note review department.                                                          JPMorgan Fails to Dismiss
                                                                                                                                                              California Debt
                                                                                                                                                              Collecti...
                    In the Riley Deposition under oath and penalty of perjury, Cynthia Riley stated that she was laid off by Washington Mutual             High Court rules for
                                                                                                                                                               homeowners: Beware
                    Bank (a.k.a. WMBFA) in November 2006. It seems that she was no longer a vice president of either Washington Mutual Bank                    of dishone...
                    or Washington Mutual Bank, F.A. at the time that blank endorsements would have been made on the mortgage note in                       The Great Chase WAMU
                                                                                                                                                               $300 Billion Caper? |
                    question. (Pages 64 & 65 of the Riley Deposition.)                                                                                         Livingl...
                                                                                                                                                           Now We Know: JPMorgan
                                                                                                                                                              Chase Is Worse Than
                    Legal questions abound as the stamped blank endorsements on the WAMU and WMBFA notes produced by JPMorgan                                 Enron | ...

                    Chase in countless foreclosure cases could not have been made nor authorized by Riley on mortgages that closed after              ► 2013 (338)
                    November 2006.                                                                                                                    ► 2012 (241)
                                                                                                                                                      ► 2011 (249)

                    Are these Notes endorsed in Cynthia Riley's name after November 2006 fake or a possible act of fraud on the Court in
                    foreclosure lawsuits across America?
                                                                                                                                                      SUPPORT THIS SITE




https://victoryoverchase.blogspot.com/2014/01/shenanigans-abound-wamus-endorsement-... 11/6/2020
 VICTORY OVER CHASE: SHENANIGANS ABOUND -- WAMU'S ENDORSEMENT... Page 3 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 6 of 14

                                                                                                                                                    The administrator of the website Victory
                                                                                                                                                    Over Chase requests your financial
                                                                                                                                                    support to keep the site up and running as
                    Does JPMorgan Chase Bank N.A. have any standing whatsoever?                                                                     a source of foreclosure defense
                                                                                                                                                    information free of advertisements.

                          How is it that thousands of WaMu and WMBFA notes made after November 2006 came to be endorsed by                          Your contributions will enable this site to
                                                                                                                                                    continue to serve homeowners across the
                          Cynthia Riley when she was no longer employed as a Vice President in WaMu's Secondary Delivery Operations                 land.

                          or Note Review? Did WaMu ship the endorsement stamps bearing Riley's signature to the Florence facility                   Namaste and Thank You for your Generosity
                                                                                                                                                    of Spirit!
                          where unidentified individuals continued using them to endorse WaMu notes? Note that per her deposition that in
                                                                                                                                                    CONTRIBUTE NOW
                          November 2006 Riley was "laid off and subsequently got a job back with JP Morgan" in January 2009 working in
                          the default division in MIS, management information systems, where she provided information to the auditing
                          agencies (Moody's, S&P, Fitch.) (p 65). Riley was not a vice president of Washington Mutual Bank or
                          Washington Mutual Bank FA in September 2008 when the FDIC took over WaMu and sold the assets to
                          JPMorgan Chase Bank, N.A. As of the date of the deposition Riley was still at MIS at JPMorgan Chase Bank,
                          NA. (p 67)




                          TIMELINE

                             • 1987 or thereabouts Cynthia Riley allegedly went to work for American Savings in Stockton, CA.

                             • December 27, 1988 American Savings was established and headquartered in Stockton, CA

                             • October 1, 1997 Washington Mutual Bank, F.A.acquired American Savings.

                             • April 4, 2004 Washington Mutual Bank FA changed its name to Washington Mutual Bank after
                               WMBFA acquired it in January 2004; it became known as WaMu and moved its headquarters from
                               Stockton, CA to Henderson, NV.

                             • June 2004 WaMu promoted and transferred Cynthia Riley, as a VP of Secondary Loan Operations in
                               the Note Review Department, from Stockton, CA to Jacksonville, Florida.

                             • November 2006 WaMu laid off Cynthia Riley and moved its Secondary Loan Operations and the Note
                               Review department from Jacksonville, FL to Florence, SC.

                             • November 2006 - circa November 2007 Riley did contract project work for WaMu; she was no longer
                               Vice President at Washington Mutual Bank or affiliates. Riley was not transferred nor was she ever
                               employed by WaMu in Florence, SC.




                             • As of November 2006 Riley was never again employed in the Note Review Department of WaMu nor
                               at JPMorgan Chase Bank, NA.




                             • November 2006 to about November 2007 Riley "did project management work for about 12 months . .
                               . involved with was helping to move the custodial vault from Stockton to Florence, South Carolina."
                               (p 62) She coordinated meetings and activities.




                             • September 25, 2008 the FDIC as Receivor took over WaMu and on that same date entered into a whole
                               bank purchase and assumption agreement with JPMorgan Chase Bank, N.A.

                             • November 2007 - December 2008 Cynthia Riley's employer, if any, is unidentified in the Riley
                               Deposition.

                             • January 2009 JPMorgan Chase Bank NA hired Cynthia Riley to work in default operations in
                               Management Systems Operations.




                                                 Consult with a qualified attorney about your situation and how
                                                            this may impact your foreclosure cases.

                    at 11:50 AM
                    Reactions:     Helpful (0)      Not Helpful (0)     Informative l (0)




                    Labels: blank endorsements of notes, Chase foreclosures, Cynthia Riley, foreclosures, JPMorgan Chase Bank, WAMU,
                    Washington Mutual Bank FA



                    8 comments:

                           Anonymous April 1, 2015 at 8:19 PM

                           You want a REAL fucking treat? Contact the county court/recorders office in Jacksonville Florida and request a copy of
                           the bitches own home loan, here, let me help you out a bit:

                           Cynthia A. Riley (H) (a Kenneth Somebody or other is listed as her husband)




https://victoryoverchase.blogspot.com/2014/01/shenanigans-abound-wamus-endorsement-... 11/6/2020
 VICTORY OVER CHASE: SHENANIGANS ABOUND -- WAMU'S ENDORSEMENT... Page 4 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 7 of 14


                          (a.k.a.“ Robo-Riley”)
                          849 Cloudberry Branch Way
                          Jacksonville, Florida 32259

                          This is EXACTLY the way I listed her address printed in the c.c. section of an open letter addressed to another banker
                          scumbag, Andrew Beal. My friends original loan was a WAMU with bitch rubber stamped on the blank assignment.
                          What's the "treat" I promised? One of your retinas is probably going to blow out and leave a bloody puddle on your desk
                          when you compare her TRUE signature on her loan docs to her 'validated' rubber stamp crap that she testified was her
                          actual signature....NOT! NOTHING CLOSE! If I recall, a certified copy of her loan docs cost me about $10 bucks plus a
                          pre-paid Fed-ex turnaround.
                          BTW, the "c" is still employed with Chase Bank in Jacksonville, I misplaced the branch/phone number so I'm calling
                          tomorrow to get the street address to her work. I'm sending the open letter to both her home and work. She's likely to shit
                          logs because I will share her location with the planet!

                          Reply

                             Replies

                                   Anonymous July 15, 2015 at 6:03 PM

                                   Hello, My note has never had her name on it and now that the bank is trying to steal my home they put her
                                   stamp on the sig page. do you have a copy of her home loan with signature that you could send me to
                                   compare? jamanos@aol.com



                                   Anonymous July 25, 2015 at 2:48 PM

                                   I hope you didn't forget... Post That SHIT!!!! Yeeeee!



                                   Anonymous July 1, 2016 at 3:57 PM

                                   WOW! just looked at her signature on her home mortgage and Note. That is NOT her signature on that stamp!
                                   PERIOD! GREAT catch!


                           Reply




                          Anonymous January 7, 2016 at 6:30 PM

                          You all are missing the important part of all of this. It does not matter what her stamp sig looks like, she swears in her
                          depo that no one had access to her stamps locked in a safe in a locked room, and no one could have used it without her
                          supervision AS AN EMPLOYEE. She states there is no way they could have used it after she left. It was not the way they
                          did her job, legally.

                          Reply

                             Replies

                                   Izz-laru July 14, 2020 at 2:13 AM

                                   Really? LOL That doesn't add up. How many documents have her stamp? There's no way that many docs
                                   could have her stamp if that were true.


                           Reply




                          Blogger December 3, 2017 at 2:35 PM

                          eToro is the #1 forex broker for beginning and established traders.

                          Reply



                          Izz-laru July 14, 2020 at 2:15 AM

                          This shows the incorrect date of 2004 instead of 2005 for when FA bought WMB and changed names.

                          Reply




                                                                                                                                             
                       Enter your comment...

                                                                                                                                             

                             Comment as:         Google Account



                       Publish         Preview




                    Newer Post                                                   Home                                                   Older Post




https://victoryoverchase.blogspot.com/2014/01/shenanigans-abound-wamus-endorsement-... 11/6/2020
 VICTORY OVER CHASE: SHENANIGANS ABOUND -- WAMU'S ENDORSEMENT... Page 5 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 8 of 14



                                            Subscribe to: Post Comments (Atom)




 Subscribe To                                                     Popular Posts



       Posts                                                                      The Case Against Washington Mutual Bank and California Reconveyance Company
                                                                                  WAMU LOGO On March 10, 2011 three highly respected members of the California
       Comments                                                                   Office of the Attorney General participated in a teleconfere...


                                                                                  Evidence Establishes the FDIC Assigned WAMU Loans to Trusts
                                                                                    On August 30, 2012 at 12:02 PM a "Corporate Assignment of Deed of Trust " was
                                                                                  recorded in Recorder's Offi...



                                                                           History of Washington Mutual Bank, FA, formerly American Savings Bank, FA
                                                                           http://www2.fdic.gov/idasp/main_bankfind.asp History of Washington Mutual Bank, FA, Stockton,
                                                                           California (FDIC Cert: 32633) Note: This i...

                                                                                  FDIC & JPMORGAN CHASE BANK NA'S P&A AGREEMENT DOES NOT IDENTIFY
                                                                                  THE NOTES & MAY NOT BE THE TRUE P&A.
                                                                                  The Purchase &Assumption Agreement between the FDIC & JPMorgan Chase Bank, NA
                                                                                  for Washington Mutual Bank does not specifically...


                                                                                  HOMEOWNERS CAN BENEFIT FROM BANK SERVICER VIOLATIONS OF
                                                                                  QUALIFIED WRITTEN REQUESTS UNDER RESPA & TILA
                                                                                  There may be gold in the hands of distress homeowners if their bank servicers' fail to
                                                                                  promptly comply with QWR and TILA requests. Home...


                                                                                  Secret FDIC & JPMorgan Chase Bank 118 Page Purchase and Assumption Agreement
                                                                                  for Washington Mutual Bank Uncovered
                                                                                   Smoking Gun or Another Murder of Crows? You be the judge. QUESTION -- Are the
                                                                                  FDIC and JPMorgan Chase Bank and their attorneys...


                                                                                  What Happens When You File a Complaint with the FDIC against JPMorgan Chase
                                                                                  Bank and Washington Mutual Bank
                                                                                  This is the tale of an on-line complaint filed recently with the FDIC as to issues with
                                                                                  JPMorgan Chase Bank, N.A., Washington Mutual Bank,...


                                                                   Florida Homeowner Liz Coursen's Wins Big in RICO Case Against JPMorgan Chase et al
                                                                   July 25th 2012 stands out as a red letter day for foreclosure fighters and home defenders in Florida.
                                                                  The scales of justice have at ...

                                                                                  BOMBSHELL REVELATION: ALL WAMU LOAN DOCS WERE UPLOADED TO MERS
                                                                                  & DESTROYED
                                                                                  Brenda Reed, August 28, 2013 Where, oh where have the Washington Mutual Bank FA
                                                                                  original loan documents gone? Uploaded to MERS t...


                                                                  MORE FACTS -- WASHINGTON MUTUAL BANK, FA (FDIC # 32633)
                                                                  WASHINGTON MUTUAL BANK, FA (32633) 10/1/1997 AMERICAN SAVINGS BANK,FA (FDIC
                                                                  Certificate # 32633) changed its name to WASHINGTON MUTUAL BA...



                                           2013. Spirit N Action. Powered by Blogger.




https://victoryoverchase.blogspot.com/2014/01/shenanigans-abound-wamus-endorsement-... 11/6/2020
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 9 of 14




                               Exhibit 2
 JPMorgan Chase Quits Foreclosure Battle 90 Minutes Before Trial         Page 1 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 10 of 14




            ABOUT MFI-MIAMI   STEVE’S BLOG   EXPERT WITNESS SERVICES      REVERSE MORTGAGES      BANKRUPTCY LAWYERS     MFI-MIAMI COMMANDS RESULTS       CONTACT


    JPMORGAN CHASE QUITS FORECLOSURE BATTLE 90 MINUTES
                       BEFORE TRIAL
                              Home / 2015 / June / JPMorgan Chase Quits Foreclosure Battle 90 Minutes Before Trial




                                                                                                                              Search …


                                                                                                                             SUBSCRIBE BY EMAIL


                                                                                                                             Completely spam free, opt out
                                                                                                                             any time.

                                                                                                                             Email address

                                                                                                                              ex: someone@mydomain.com


                                                                                                                                               Subscribe!



 JPMorgan Chase Quits 5 1/2 Year Foreclosure Case                                                                            SEARCH OUR BLOG

                                                         I received some good news last week when I was
                                                                                                                             Search            Our          Blog
                                                         getting ready to drive to Miami to testify at a
                                                         foreclosure trial. My client’s attorney called to inform             Select Category                

                                                         that JPMorgan Chase was throwing in the towel.
                                                         JPMorgan Chase had filed a motion to voluntarily                    RECENT POSTS
                                                         dismiss       with   prejudice   the   foreclosure   action.
                                                         JPMorgan Chase had filed the action against Olympia
                                                                                                                                      Maryland       Foreclosure
                                                         Zacharakis in October of 2009.
                                                                                                                                      Defense Alert! Governor
                                                                                                                                      Puts Lenders On Notice
              “Victorious warriors win first and then go to war, while defeated                                                       November 6, 2020


              warriors go to war first and then seek to win” -Sun Tzu, The Art                                                        Maryland Foreclosure
                                                                                                                                      Defense Alert! Gove...
              of War
                                                                                                                                      Continue →


 This case was a perfect example of why Florida Default Law Group ended up on the ash heap of Florida
 history.                                                                                                                             Deutsche Bank Plans To
                                                                                                                                      Foreclose On Trump Real
 Florida Default Law Group filed the suit without including a copy of the endorsed note and without a Lost
                                                                                                                                      Estate
 Note Affidavit. They also never recorded a mortgage assignmentCopyright
                                                                 from the    FDIC to JPMorgan Chase.
                                                                         © 2015 MFI Miami                                             November 5, 2020


                                                                                                                                                            Site




 https://mfi-miami.com/2015/06/jpmorgan-chase-quits-1/                                                                                             11/6/2020
 JPMorgan Chase Quits Foreclosure Battle 90 Minutes Before Trial         Page 2 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 11 of 14


 MFI-Miami sent Chase Home Finance a request for the closing package and a copy of the endorsed note.           Deutsche Bank Plans
 JPMorgan Chase refused my request. Zacharakis’ initial attorney filed a Request For Production requesting      To     Foreclose    On
 an endorsed copy of the note.                                                                                  Trum...

                                                                                                                Continue →
 The attorney received the package of documents we both requested on December 4, 2009. It contained a
 copy of the note between Olympia Zacharakis and Washington Mutual Bank. Yet the note contained no
 endorsements

 The Zacharakis file sat collecting dust in the bowels of the Miami-Dade Court House for three years.


 Enter The Fraudulent Note Endorsement From Cynthia Riley
                                                       JPMorgan Chase hired new legal counsel. Their new
                                                       attorney Ronald A. Wolfe claimed in 2012 they
                                                       miraculously found the missing endorsed note. Their
                                                       client provided a mortgage note endorsed by Cynthia
                                                       Riley. Riley is a former Washington Mutual Vice
                                                       President. Cynthia Riley left Washington Mutual
                                                       before Zacharakis closed on her mortgage.

                                                       Olympia Zacharakis also had hired a new attorney.
                                                       The judge granted JPMorgan Chase an adjournment
                                                       so they could have me sit for a deposition. The court
 ordered Wolfe’s office had to take my deposition within thirty days. If not, they had to pay me $1500.

 The case sat collecting dust at the Miami-Dade Court House for another 8 months.

 Zacharakis’ attorney finally received an email from Wolfe’s office stating they wanted me to sit for a
 deposition.

 The attorney from the January trial was no longer with Wolfe’s firm. Therefore, Zacharakis’ attorney had to
 remind Wolfe’s firm of the court order from January. The court order stating that JPMorgan Chase or
 Wolfe’s firm had to pay me. Wolfe’s office then made the decision not to take my deposition.

 Zacharakis’ attorney informed Wolfe’s office that they lacked standing to foreclose the mortgage lien.
 Apparently, Chase or the previous servicers never filed a mortgage assignment with the Miami-Dade Clerk.

 The file then made a third trip to bowels of the basement of the Miami-Dade Court House.


 JPMorgan Chase Hires Third Law Firm
 McGlinchey Stafford took over the case in June of 2014. They were now the third law firm to represent
 JPMorgan Chase. They file a motion for Substitute Plaintiff changing the name of the Plaintiff to “JPMorgan
 Chase Bank, N.A., As Successor In Interest To Washington Mutual Bank, Formally Known As Washington
 Mutual Bank, N.A.”

 The judge granted the motion. JPMorgan Chase named as the Plaintiff was the cornerstone to our lack of
 standing argument. Why Zacharakis’ attorney never objected to this we still don’t know. He has never given
 Olympia Zacharakis or me a straight answer. Her attorney also agreed to a trial date of September 18, 2014.

 It was at this point that Zacharakis hired Miami Attorney Daniel Milian. McGlinchey Stafford finally allowed
 Daniel Milian to examine the endorsed note. Yes, the note with Cynthia Riley’s signature.
                                                                 Copyright © 2015 MFI Miami

                                                                                                                                   Site




 https://mfi-miami.com/2015/06/jpmorgan-chase-quits-1/                                                                       11/6/2020
 JPMorgan Chase Quits Foreclosure Battle 90 Minutes Before Trial         Page 3 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 12 of 14



 Cynthia Riley’s Deposition From Another Case Begins Making The
 Rounds
                                            A copy of a transcript of deposition by Cynthia Riley did in
                                            January of 2013 began going viral on the internet. Riley admitted
                                            in her deposition that other people at Washington Mutual used
                                            her stamp. She also admitted she never stamped any mortgage
                                            notes.

                                            Washington Mutual removed Riley as a Vice President in
                                            November of 2006. Riley stated in her deposition she was later
                                            hired by JPMorgan Chase in 2009.

                                            Riley’s deposition now became the cornerstone of our defense.
                                            The Zacharakis loan closed on November 16, 2006. The loan
                                            was a refinance so it didn’t fund until two days before
                                            Thanksgiving in 2006.

                                            Washington Mutual in Jacksonville or Florence, South Carolina
 could not have received the file until November 29th at the earliest. It would not have made its way to
 Cynthia Riley’s department until after December 6, 2006.

 This would make it impossible for Cynthia Riley to have the authority to stamp Olympia Zacharakis’ note.
 This note conflicts with the one supplied in December of 2009. JPMorgan Chase supplied a note in 2009
 that was not endorsed. This showed JPMorgan Chase used Riley’s endorsement stamp after December of
 2009. This is nearly three years after Cynthia Riley left her position as Vice President of Washington Mutual.


 JPMorgan Sets Another Trial Date. They Ask Me Again To Sit For A
 Deposition
 Another trial was scheduled for September 18, 2014. McGlinchey Stafford asked the judge for an
 adjournment with another request to take my deposition. They claimed they were unaware I was
 Zacharakis’ expert. Daniel Milian pointed out I had been listed as Zacharakis’ expert witness since the fall of
 2012.

 It soon became clear that McGlinchey Stafford fed the court a line of bullshit in order to buy some time to
 figure out what to do next.

 Olympia Zacharakis and I found Cynthia Riley’s profile on the business networking site, LinkedIn.

 Riley’s profile stated that she still worked for JPMorgan Chase in Jacksonville, Florida. Riley’s profile has
 been scrubbed from the internet. However, I managed to take a screenshot of it before it disappeared.

 Milian immediately filed a motion to have Cynthia Riley sit for a deposition.

 McGlinchey Stafford informed us in May of 2015 that Cynthia Riley did not work for JPMorgan Chase and
 they have no idea of her whereabouts.

 We soon discovered Riley or JPMorgan Chase scrubbed the internet of the whereabouts of Cynthia Riley. It
 became clear JPMorgan Chase terminated her employment after the motion for the deposition was filed.
                                                                  Copyright © 2015 MFI Miami

                                                                                                                         Site




 https://mfi-miami.com/2015/06/jpmorgan-chase-quits-1/                                                             11/6/2020
  JPMorgan Chase Quits Foreclosure Battle 90 Minutes Before Trial         Page 4 of 5
 Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 13 of 14



     JPMorgan Chase Throws In The Towel 90 Minutes Before Trial
     As I was driving to court, Zacharakis’ attorney Daniel Milian informed me that McGlinchey Stafford was
     filing a motion to voluntarily dismiss the foreclosure action against Olympia Zacharakis with prejudice. This
     means they can never refile the case.

     McGlinchey Stafford only had one option. Fight and lose or throw in the towel and avoid embarrassment.

     At trial, they would have to explain how Cynthia Riley’s endorsement stamp was affixed to the Zacharkis
     note.

     They would also have to explain why Riley’s employment with JPMorgan Chase was terminated. All of
     these issues would have opened a Pandora’s Box for JPMorgan Chase. McGlinchey Stafford‘s exhibits
     would be placed on the public record. The documents would also have been on the internet within days.

     McGlinchey Stafford would also have been held liable for the mistakes made by Florida Default Law Group.




     Tags Cynthia Riley ● economic meltdown ● financial crisis ● florida ● florida foreclosure fraud ● florida
     foreclosure mill law firms           Florida foreclosure mills ●        Florida Foreclosure Mitigation ●         florida
                                                                                                                       ●
     foreclosures         Florida robo-signing ● Florida Supreme Court ● foreclosure ● foreclosure backlog
                                                                                                       ● ●
     foreclosure cases ● foreclosure crisis ● foreclosure defense ● foreclosure filings ● foreclosure fraud ●
     foreclosure help ● foreclosure help florida ● foreclosure mills ● foreclosure rescue ● foreclosures ●
     Housing Crisis ● illegal foreclosures ● JPMorgan Chase ● McGlinchey Stafford ● mfi-miami ● Steve
     Dibert




                   Melissa Gilbert’s Racist Fans Are Obses…            Seven Indicted For Mortgage Fraud Con…



     RELATED POSTS




Maryland COVID-19 Foreclosure            Bayview Loan Servicing COVID-19           Disbarred Lawyer Mark Stopa Sued         JPMorgan Chase Running A Stealth
Defense Hotline! Call 888.737.6344       Foreclosure    Hotline!     Call          For Fraud By Federal Court Trustee       Campaign Against Trump
November 3, 2020
                                         888.737.6344                              October 29, 2020                         October 25, 2020

                                         November 2, 2020
MFI-Miami           Launches      The                                              Angry      Federal    Court   Trustee    JPMorgan Chase Busted Being
Maryland COVID-19...                     MFI-Miami          Launches      The      Sues Disbarr...                          Involved In ...
                                         Bayview Loan Serv...




     LEAVE A REPLY

                                                                            Copyright © 2015 MFI Miami
     Connect to leave a comment:
                                                                                                                                                               Site




    https://mfi-miami.com/2015/06/jpmorgan-chase-quits-1/                                                                                            11/6/2020
 JPMorgan Chase Quits Foreclosure Battle 90 Minutes Before Trial         Page 5 of 5
Case 1:20-cv-20543-AMC Document 30-1 Entered on FLSD Docket 11/09/2020 Page 14 of 14



  Secured by OneAll Social Login


 Your email address will not be published.

 Comment




 Name




 Email




 Website




         Post Comment


 This site uses Akismet to reduce spam. Learn how your comment data is processed.




 MFI-MIAMI FEATURED VIDEO                       MFI-MIAMI FEATURED VIDEO                      CONTACT MFI-MIAMI

                                                                                                 1.888.737.6344

                                                                                               Name


                                                                                               Email


           00:00                   00:15              00:00                           00:16
                                                                                               Message



                                                                                                   Sent Message




                                                              Copyright © 2015 MFI Miami

                                                                                                                     Privacy - Terms
                                                                                                                            Site




 https://mfi-miami.com/2015/06/jpmorgan-chase-quits-1/                                                            11/6/2020
